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                                        OFFICE OF THE UNITED STATES TRUSTEE - REGION 3
                                       POST-CONFIRMATION QUARTERLY SUMMARY REPORT

                 This Report is to be submitted for all bank accounts that are presently maintained by the post confirmation debtor.


Debtor's Name: Revstone Industries, LLC                         Bank: Huntington Bank

Bankruptcy Number: 12-13262 (BLS)                               Account Number: See Account Schedule Page 3

Date of Confirmation: March 23, 2015                            Account Type: Checking

Reporting Period (month/year): March 2021

           Beginning Cash Balance:                                           $1,350,969

All receipts received by the debtor:

           Cash Sales:                                                                  $0

           Collection of Accounts Receivable:                                          $0

           Proceeds from Litigation (settlement or otherwise):                         $0

           Sale of Debtor's Assets:                                                     $0

           Interest on Accounts                                                         $0

           Total of cash received:                                                      $0

Total of cash available:                                                                      $1,350,969

Less all disbursements or payments (including payments made under the confirmed plan) made by the Debtor:

           Disbursements made under the plan, excluding the administrative
                    claims of bankruptcy professionals:                                                 $0

           Disbursements made pursuant to the administrative claims of
                    bankruptcy professionals:                                                           $0

           All other disbursements made in the ordinary course:                                    $7,631

           Total Disbursements                                                                                     $7,631

Ending Cash Balance                                                                                           $1,343,338


Pursuant to 28 U.S.C. Section 1746(2), I hereby declare under penalty of perjury that the foregoing is true and correct
to the best of my knowledge and belief.

__________________                   ____________________________________
Date                                 Name/Title: Agatha Serda, Vice President

Debtor: Revstone Industries, LLC

Case Number: 12-13262 (BLS)




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                                         CASH BASIS                                  Month
                                          ASSETS                                   3/31/2021
        Cash (Unrestricted)                                                            $1,343,338
        Cash (Restricted)                                                                        0
        Accounts Receivable (Net)                                                                0
        Inventory                                                                                0
        Notes Receivable                                                                         0
        Prepaid Expenses                                                                         0
        Other (Attach List)                                                                      0
        Total Current Assets                                                             1,343,338
        Property, Plant & Equipment
        Real Property & Improvements                                                             0
        Machinery & Equipment                                                                    0
        Furniture, fixtures & Office Equipment                                                   0
        Vehicles                                                                                 0
        Leasehold Improvements                                                                   0
        Less: Accumulated Depreciation/Depletion                                                 0
        Total Property, Plant & Equipment                                                        0
        Due from Affiliates & Insiders                                                           0
        Other (Attach List)                                                                      0
        Total Assets                                                                   $1,343,338
        Liabilities Not Subject to Compromise (Postpetition Liabilities)
        Accounts Payable                                                                         0
        Taxes Payable                                                                            0
        Notes Payable                                                                            0
        Professional Fees                                                                        0
        Secured Debt                                                                             0
        Due to Affiliates & Insiders                                                             0
        Other (Admin and Tax claims per Plan)                                           15,513,000
        Total Postpetition Liabilities                                                $15,513,000
        Liabilities Subject to Compromise (Pre-petition Liabilities)
        Secured Debt - Per Plan                                                                  0
        Priority Debt - Per Plan                                                             60,000
        Unsecured Debt - Per Plan - mid point estimate                                  41,500,000
        Other (PBGC Claim) - Per Plan                                                   95,000,000
        Total Pre-petition Liabilities                                                136,560,000
        Total Liabilities                                                            $152,073,000
        Equity
        Common Stock                                                                             0
        Retained Earnings (Deficit)                                                   -150,729,662
        Total Equity (Deficit)                                                        -150,729,662
        Total Liabilities & Owners' Equity                                              $1,343,338

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Revstone Industries, LLC
U.S. Trustee Quarterly Report Detail
Quarter Ended: March 31, 2021
12-13262 (BLS)                                    Revstone        Revstone         Revstone      Revstone      Revstone         Revstone         Revstone
                                                 Industries      Industries       Industries    Industries     Litigation       Litigation      Industries
                                                   CLOSED       GUC Reserve      Pre- Emerge      CLOSED          Trust            Trust
                                                    #3349           #3352           #0660          #9495       Op. Acct         Mmarket            Total
Opening balance January 1, 2021:                        $0.00   $1,157,225.95     $193,743.39          $0.00          $0.00            $0.00   $1,350,969.34

Total Receipts                                           0.00            0.00            0.00           0.00            0.00            0.00             0.00

Total Cash Available                                   $0.00    $1,157,225.95    $193,743.39          $0.00           $0.00           $0.00    $1,350,969.34

I. Plan Disbursements, x - BK Professionals              0.00            0.00            0.00           0.00            0.00            0.00             0.00

II. Plan Disbursements - BK Professionals                0.00            0.00            0.00           0.00            0.00            0.00             0.00

III. Ordinary Course Disbursements                       0.00          560.28        7,070.57           0.00            0.00            0.00         7,630.85

IV. Intra-Company Transfers                              0.00            0.00            0.00           0.00            0.00            0.00             0.00

Ending Balance                                         $0.00    $1,156,665.67    $186,672.82          $0.00           $0.00           $0.00    $1,343,338.49

Balance per Bank                                       $0.00    $1,156,665.67    $186,672.82          $0.00           $0.00           $0.00 $1,343,338.49
variance (s/b = 0)                                       0.00             0.00           0.00           0.00            0.00            0.00          0.00




                                                                                                                                      Account Schedule Page 3
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